     CASE 0:11-cr-00305-DSD-LIB        Doc. 971    Filed 08/17/12    Page 1 of 2



                    UNITED STATES DISTRICT COURT
                        DISTRICT OF MINNESOTA
                  Criminal No. 11-305(6)(DSD/LIB)

United States of America,

                Plaintiff,

v.                                                                  ORDER

Lawrence Lalonde Colton,

                Defendant.



     This matter is before the court upon the motion for judgment

of acquittal by defendant Lawrence Lalonde Colton. Colton made the

motion at trial after the government closed its evidence.                          The

court reserved decision on the motion until after the jury returned

its verdict.    The jury found Colton guilty of all counts in the

amended superseding indictment, and the court now addresses the

motion.

     Upon a defendant’s motion, the court must enter a judgment of

acquittal “of any offense for which the evidence is insufficient to

sustain a conviction.”     Fed. R. Crim. P. 29(a).               When considering

a motion for judgment of acquittal based on sufficiency of the

evidence, the court views the evidence “in the light most favorable

to   the   verdict,   giving      it     the      benefit   of      all     reasonable

inferences.”   United States v. Cacioppo, 460 F.3d 1012, 1021 (8th

Cir. 2006) (citation and internal quotation marks omitted).                        The
     CASE 0:11-cr-00305-DSD-LIB   Doc. 971   Filed 08/17/12   Page 2 of 2



court will grant the motion “only if there is no interpretation of

the evidence that would allow a reasonable jury to find the

defendant guilty beyond a reasonable doubt.”          Id.

     In the present case, the government offered overwhelming

evidence of Colton’s guilt as to all counts and all objects of the

conspiracy.   Therefore, denial is warranted.          Accordingly, IT IS

HEREBY ORDERED that the motion for judgment of acquittal is denied.


Dated:   August 17, 2012


                                        s/David S. Doty
                                        David S. Doty, Judge
                                        United States District Court




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